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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               Case No.: 12-cv-60460-MIDDLEBROOKS


   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   THE STATE OF FLORIDA,

          Defendant.

                                                /

                       MOTION FOR LEAVE TO WITHDRAW AS COUNSEL
                        FOR PLAINTIFF UNITED STATES OF AMERICA

          Pursuant to Southern District of Florida Local Rule 11.1(d)(3), Janelle Geddes hereby
   moves for leave to withdraw as counsel for Plaintiff United States of America and states the
   following:

          1. Ms. Janelle Geddes will soon leave her position with the U.S. Department of Justice.
          2. Other attorneys at the U.S. Department of Justice, including James Fletcher, H. Justin
                Park, and Amanda B. Pearlstein, each at 950 Pennsylvania Ave., NW (4CON),
                Washington, D.C. 20530, will continue to represent the United States of America in
                this matter.
          3. As required by Southern District of Florida Local Rule 11.1(d)(3), Ms. Janelle
                Geddes provided notice of her intent to withdraw to opposing counsel, who has no
                objection to the withdrawal.

          Accordingly, Ms. Janelle Geddes respectfully requests that she be permitted leave to
   withdraw as counsel for the United States of America, for the reasons set forth above.
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    Dated: May 6, 2025                 Respectfully submitted,


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    United States Attorney             Chief
    Southern District of Florida
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